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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE


             In re:                                                         Chapter 11

             CASA SYSTEMS, INC., et al.,1                                   Case No. 24-10695 (KBO)

                                       Debtors.                             (Jointly Administered)

                                                                            Hearing Date: April 26, 2024 at 9:30 a.m. (ET)
                                                                            Obj. Deadline: April 19, 2024 at 4:00 p.m. (ET)

                                                                            Ref. Docket Nos. 6, 8, 12-17, 40, 76-78, 99-100,
                                                                            102-104 & 108

             OMNIBUS NOTICE OF FIRST DAY PLEADINGS AND FINAL HEARING THEREON

                 PLEASE TAKE NOTICE that, on April 3, 2024, the above-captioned debtors and debtors
         in possession (collectively, the “Debtors”) filed, among others, the following first day pleadings
         (collectively, the “First Day Pleadings”) with the United States Bankruptcy Court for the District
         of Delaware (the “Court”):

               1. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing Debtors to (A) File
                  a Consolidated List of Creditors in Lieu of Submitting a Separate Mailing Matrix for Each
                  Debtor, (B) File a Consolidated List of the Debtors’ Thirty Largest Creditors, and
                  (C) Redact Certain Personal Identification Information, (II) Waiving the Requirement to
                  File a List of Equity Security Holders, and (III) Granting Related Relief [Docket No. 6]

               2. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing Debtors to Pay
                  Certain Taxes and Fees and (II) Granting Related Relief [Docket No. 8]

               3. Debtors’ Motion for Entry of Interim and Final Orders (I) Prohibiting Utility Providers
                  from Altering, Refusing, or Discontinuing Service, (II) Approving Proposed Adequate
                  Assurance of Payment, (III) Establishing Procedures for Resolving Requests for Additional
                  Assurance of Payment, and (IV) Granting Related Relief [Docket No. 12]

               4. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to
                  (A) Pay Their Obligations Under Prepetition Insurance Policies, (B) Continue to Pay
                  Certain Brokerage Fees, (C) Renew, Supplement, Modify, or Purchase Insurance
                  Coverage, and (D) Enter Into New Financing Agreements in the Ordinary Course of
                  Business, and (II) Granting Related Relief [Docket No. 13]



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               The Debtors in these chapter 11 cases, together with the last four digits of the Debtors’ federal tax identification
               number, are Casa Systems, Inc. (8867), Casa Systems Securities Corporation (1151), and Casa Properties LLC
               (6767). The Debtors’ service address is 100 Old River Road, Andover, MA 01810.
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             5. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to Pay
                Certain Critical Vendor Claims, 503(b)(9) Claims, Lien Claims, and Foreign Vendor
                Claims in the Ordinary Course of Business and (II) Granting Related Relief
                [Docket No. 14]

             6. Debtors’ Motion for Entry of Interim and Final Orders Authorizing the Debtors to
                (I) Maintain and Administer Their Existing Customer Contracts and Programs and Honor
                Certain Prepetition Obligations Related Thereto, and (II) Granting Related Relief
                [Docket No. 15]

             7. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to
                (A) Continue to Operate Their Cash Management System, (B) Honor Certain Prepetition
                Obligations Related Thereto, (C) Maintain Existing Business Forms, and (D) Perform
                Intercompany Transactions and (II) Granting Related Relief [Docket No. 16]

             8. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing, but Not Directing,
                the Debtors to (A) Pay Prepetition Employee Wages, Salaries, Other Compensation, and
                Reimbursable Expenses and (B) Continue Employee Benefit Programs and (II) Granting
                Related Relief [Docket No. 17]

             9. Debtors’ Motion for Entry of an Order (I) Authorizing Debtors’ Limited Use of Cash
                Collateral, (II) Granting Adequate Protection to Secured Lender, (III) Modifying
                Automatic Stay, and (IV) Granting Related Relief [Docket No. 40]

                 PLEASE TAKE FURTHER NOTICE that a hearing on the First Day Pleadings was held
         on April 5, 2024 (the “First Day Hearing”), after which the Court entered certain orders granting
         the relief requested in the First Day Pleadings on an interim basis [Docket Nos. 76, 77, 78, 99,
         100, 102, 103, 104 & 108] (collectively, the “Interim Orders”). Concurrently herewith, you are
         being served with the Interim Orders.

                 PLEASE TAKE FURTHER NOTICE that copies of the First Day Pleadings and any of
         the related Interim Orders are available, free of charge, from the website of the Court appointed
         claims agent, Epiq Corporate Restructuring, LLC, online at http://www.casa-systems.com/.

                 PLEASE TAKE FURTHER NOTICE that any responses or objections to the entry of
         any orders approving the interim relief set forth in the Interim Orders on a final basis must be filed
         on or before April 19, 2024 at 4:00 p.m. (ET) (the “Objection Deadline”) with the United States
         Bankruptcy Court for the District of Delaware, 824 N. Market Street, 3rd Floor, Wilmington,
         Delaware 19801. At the same time, copies of any responses or objections must be served so as to
         be received on or before the Objection Deadline upon the following parties: (i) the Debtors,
         100 Old River Road, Andover, MA 01810; (ii) proposed counsel to the Debtors, (a) Sidley Austin
         LLP, 787 Seventh Ave, New York, New York 10019, Attn: Steven E. Hessler, Esq.
         (shessler@sidley.com), Patrick Venter, Esq (pventer@sidley.com), and Margaret R. Alden
         (malden@sidley.com) and (b) Young Conaway Stargatt & Taylor, LLP, 1000 North King Street,
         Rodney Square, Wilmington, Delaware 19801, Attn: Joseph Barry, Esq. (jbarry@ycst.com) and
         Joseph M. Mulvihill, Esq. (jmulvihill@ycst.com); (iii) proposed counsel to the Ad Hoc Group,
         (a) Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY 10036, Attn: Philip
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         C. Dublin (pdublin@akingump.com), Kevin Eide (keide@akingump.com), and Melanie A. Miller
         (melanie.miller@akingump.com), and (b) Blank Rome LLP, 1201 N. Market Street, Suite 800,
         Wilmington, DE 19801, Attn: Stanley B. Tarr (stanley.tarr@blankrome.com); (iv) proposed
         counsel to the Prepetition Agents, Paul Hastings LLP, 200 Park Avenue, New York, NY 10036,
         Attn:           Alex      Cota       (alexcota@paulhastings.com)        and      Sam       Lawand
         (samlawand@paulhastings.com); (v) proposed counsel to the Committee, if any; and (vi) the
         Office of the U.S. Trustee for the District of Delaware, J. Caleb Boggs Federal Building, 844 King
         Street, Room 2207, Wilmington, DE 19801, Attn: Jane M. Leamy (jane.m.leamy@usdoj.gov) and
         Malcom M. Bates (malcom.m.bates@usdoj.gov).

                PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER
         APPROVAL OF THE FIRST DAY PLEADINGS ON A FINAL BASIS IS SCHEDULED FOR
         APRIL 26, 2024 AT 9:30 A.M. (ET) BEFORE THE HONORABLE KAREN B. OWENS, IN
         THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824
         N. MARKET STREET, 6TH FLOOR, COURTROOM NO. 3, WILMINGTON, DELAWARE
         19801.

               PLEASE TAKE FURTHER NOTICE THAT IF NO OBJECTIONS OR RESPONSES
         TO THE FIRST DAY PLEADINGS ARE TIMELY FILED, SERVED, AND RECEIVED IN
         ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF
         REQUESTED IN CONNECTION WITH SUCH FIRST DAY PLEADINGS ON A FINAL
         BASIS WITHOUT FURTHER NOTICE OR HEARING.


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             Dated: April 5, 2024
             Wilmington, Delaware

             /s/ Joseph M. Mulvihill
             YOUNG CONAWAY STARGATT &                       SIDLEY AUSTIN LLP
             TAYLOR, LLP                                    Stephen E. Hessler (admitted pro hac vice)
             Joseph Barry (Del. Bar No. 4221)               Patrick Venter (admitted pro hac vice)
             Joseph M. Mulvihill (Del. Bar No. 6061)        Margaret R. Alden (admitted pro hac vice)
             Timothy R. Powell (Del. Bar No. 6894)          787 Seventh Avenue
             1000 North King Street                         New York, New York 10019
             Rodney Square                                  Telephone: (212) 839-5300
             Wilmington, Delaware 19801                     Facsimile: (212) 839-5599
             Telephone: (302) 571-6600                      Email: shessler@sidley.com
             Facsimile: (302) 571-1253                              pventer@sidley.com
             Email: jbarry@ycst.com                                 malden@sidley.com
                     jmulvihill@ycst.com
                     tpowell@ycst.com                       Ryan L. Fink (admitted pro hac vice)
                                                            One South Dearborn
                                                            Chicago, Illinois 60603
             Proposed Co-Counsel to the Debtors and         Telephone: (312) 853-7000
             Debtors in Possession                          Facsimile: (312) 853-7036
                                                            Email: ryan.fink@sidley.com

                                                            Julia Philips Roth (admitted pro hac vice)
                                                            1999 Avenue of the Stars
                                                            Los Angeles, California 90067
                                                            Telephone: (310) 595-9500
                                                            Facsimile: (310) 595-9501
                                                            Email: julia.roth@sidley.com


                                                            Proposed Counsel to the Debtors and Debtors
                                                            in Possession




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